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                          UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              ABERDEEN DIVISION

                                        CIVIL MINUTES


Case No 1:16CV176-GHD-RP                Held: OXFORD
Style: PAUL N. ROYAL V. CANYON BOYKIN, ET AL
Date/Time Began 08/30/18 at 10:00 a.m. Date/Time Ended: 08/30/18 at 2:00 p.m.

         Total Time: 4 hours

PRESENT: Honorable ROY PERCY, MAGISTRATE JUDGE

                                            _________________
       Deputy Clerk                           Court Reporter

Attorneys for Plaintiff(s):                Attorneys for Defendant(s):
Andrew C. Clarke                           Jeffery P. Reynolds
Errick D. Simmons                          Katherine S. Kerby



PROCEEDINGS: Settlement Conference
Held  X      Not Held           Canceled _______ Reset ___________

___________________________________________________________________________
Docket Entry:

Conference held. Case did not settle.



                                                          DAVID CREWS, CLERK

                                                                /s/ Rebekah Capps
                                                          By:_________________________
                                                                Courtroom Clerk
